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                         UN ITED ST AT ES DIST RIC T C O U RT
                         SO U TH E RN D ISTR ICT O F FLO RID A
                     CASE NO .:14-CV-21249-HUCU O TAZO -REYES

 ELISA GA RCIA ,individually and
 on behalfofal1others sim ilarly situated,

               Plaintit-
                       f                                            C L O SED
                                                                        C IV IL
 CLARINSUSA,lNC.,CLARm SmC.,                                            C A SE
 CLAR IN S N ORTH AM ER ICA ,IN C .,
 CLAR IN S G ROU P N O RTH A M ERICA ,IN C.,
 C LAR IN S SA ,and CLA Rm S PA RIS,

               Defendants.


                                Q RDER DENYING M OTION
        TH IS CA U SE com esbefore the Courtupon Plaintiffs M otion for Class Certification and

 AppointmentofClass Counsel(tkMotion'') LD.E.10111,tiled April 1l,2016.The Coul'thas

 considered the M otion, Defendants' Response (D.E. 110), Plaintiffs Reply (D.E. 124),
 Defendants'Sur-Reply (D.E.123),PlaintiffsNoticeofSupplementalAuthority (D.E.118),and
 the record.The Courtisduly advised.

                                      1.     BA C K G R O UN D

        ThisMotion arisesoutofElisaGarcia's(itplaintiffl'sl'')alleged purchaseofBody Lift
 CelluliteControl(ûiBody Lift'').(D.E.1!!55,69).Plaintiffallegesshe purchased Body Liftin
 January, 2013, in the M acy's at Dadeland M all,for approximately $90.Plaintiff states she

 purchasedBodyLiftwith cashandretainednoproofofpurchase.(D.E.115-5atl9-20).
        D efendants m arket Body Lifl as a treatm ent for w-cellulite Control-- which Kitirm s'-'

 'bgtlargetsearly & stubborn cellulite'''
                                        5kihelpsstreamlinethesilhouette'sappearanceand visibly

  lThis M otion isredacted D ocketentry l09 isthe unredacted version.
                           .
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  reducesthelookofcellulite';ktlvlisiblyenhancesskinfinnness''
                                                             ;klslmoothes(A-
                                                                           /cjthelookof                    l
  early and stubborn cellulite,thesilhouette'sappearanceisreshaped'''and kbgmjinimizesthelook
                                                                                                           1
  ofeven the moststubborn cellulite.''(D.E.109-1 at2).These claims are allon Body Lift's                   1

  packaging.(See D.E.109-1at2).Defendantshavealso advertised Body Lifton itswebsiteas
  ttthe tirstslim m ing product''that iûbreaks the circle ofcellulite''and that -iprevents and corrects

  the appearance ofcellulite atevery level.'-(D.E.1!71(a)-(c)(displ
                                                                  aying imagesfrom Clarins's
  websitel).OnDefendants-website,Clarinsfurtherclaimsthatitsingredientscanttslow downthe
  m ultiplication ofProgenitor Cells .   . .   and .. .delay their transfonnation into fat cells causing

  existing cellulite to look visibly reduced and to slow the appearance of new cellulite.''(D.E.1!

  7l(h)-(t)(displayingimagesfrom Clarins'swebsitel).
         Plaintiffalleges Defendants'efficacy claim sare false, deceptive,and m isleading.(D.E.1

  ! 4).Plaintiff contends,and provides experttestimony to suppol'ther contentions,thatno
  ingredient or com bination of ingredients in the Body Liftproduets can provide these pl-om ised
                                                                                                           :
  benefits. (See D.E.109-7 at27-40,43).Plaintiffsexpertwitnessstated,ItNO consumerswill
  realize the stated cellulite eflicacy as setforth in the Cellulite LabelC laim s. lndeed,none ofthe

  Cellulite Label Claims are true because the product cannotcause structural, intlam m atory or

  vascular changes that w ould theoretically have the potential to influence the underlying

  pathology....''(D.E.109-7at43).
         Plaintiffnow movesforcertification ofa Florida Class,alleging violation ofthe Florida

  Deceptive and Unfair Trade Practices Act(-'FDUTPA'')and a claim forunjustenrichment;
  Plaintiffalso movesforcertitscation ofaNationalClass,allegingaclaim forunjustenrichment.
  Thejurisdictionalbasisofthisaction isthe ClassAction FairnessAct(:-CAFA''),28 U.S.C.j
  l332(d).


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                                     II.    LEG A L STAN D A RD

         k'The class action is ian exception to the usualrule that litigation is conducted by and on

 behalfofthe individualnam ed parties onlya'''W al-M artStores,Inc.v.D ukes,564 U .S.338,348

 (2011)(quoting Calfano v.Yamasaki,442 U.S.682,700-01(1979)).The party seeking class
 certification bears the burden of establishing the requirem ents of Rule 23.See Carriuolo v.Gen.

 MotorsCo.,---F.3d ----,2016 W L 2870025,at*1(1lth Cir.M ay 17,2016).Such party must
 establish thata1lofRule23(a)'sprerequisiteshavebeen satisfied aswellastherequirementsof
  atleastone subsection ofRule 23(b).Vega v.T-Mobile USA,lnc.,564 F.3d 1256,1265 (1lth
  Cir.2009).
         Rule23(a)ûkensuresthatthenamedplaintiffsareappropriaterepresentativesoftheclass
  whose claims they wish to litigate.''Wal-Mart,564 U.S.at349.Rule 23(a)'s four express
  prerequisites are:(1)iithe class is so numerous thatjoinderofa1lmembersisimpracticable''
  (ksnumerosity''l7
                  '(2)ûûthere are questionsof1aw orfactcommon to the class''(ikcommonality''l5
                                                                                             '
  (3)ûtthe claimsordefensesoftherepresentativepartiesaretypicalofthe claimsordefensesof
  theclass''(tktypicality''l;and(4)tttherepresentativepartieswillfairly andadequatelyprotectthe
  interestsoftheclass''(ttadequacy ofrepresentation'').Fed.R.Civ.P.23(a);Vega,546 F.3d at
  1265.Additionally,Rule 23(a)has an implicitprerequisite          ascertainability.Karhu v,Vital
  Pharmaceuticals,lnc.,621F.App'x 945,946 (11th Cir.2015).Rule 23(b)(3),the subsection
  under w hich Plaintiff proceeds, requires both that com m on questions predom inate over

  individualquestions and that a class action is superior to other available m ethods for fairly and

  efficientlyadjudicatingthecontroversy.SeeFed.R.Civ.P.23(b)(3).
         Only after conducting a rigorous analysis and being satisfied that the requirem ents of

  Rule 23 have been m etm ay a courtcertify a class.Carriuolo,20l6 W L 2870025,at*l.A court
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 ruling on a motion forclasscertitication may considerthem eritsofacase,butonly to the extent

 the m erits are Cirelevant to determ ining whether the Rule 23 prerequisites for class certification

 are satisfied.''Amgen lnc.v.Conn.Ret.Plans & TrustFunds,---U .S.----, 133 S.Ct.1184,l195

 (2013).
                                          111.    A NA LY SIS

        Plaintiffmovesforcertitication oftwo 23(b)(3)classes.Plaintiffseekscertitication ofa
 ttFlorida Class''detined as

        consum ers in the state of Florida who purchased Body Lift from the date of
        product launch (January 2013) to the present who meet at least one of the
        following criteria for purchase:(a)retained proofofpurchase;(b)credit/debit
        card purchaser;(c)on-linepurchaser;and/or(d)loyalty orreward memberatthe
        retailestablishm entwhere Body Liftw aspurchased.2

 (forease ofreference,the Courtrefers to criteria (a)-(d) as-bthe vlassdetinitions'objective
 criteria'')(D.E.l09at3).Plaintift-also seekscertificationofat'NationalClass''detinedas
        kbN am ed Plaintiff,and allotherpersonsnationw ide w ho purchased Body Liftfrom
        dateofproductlaunch(January 2013)tothepresentwhomeetatleastoneofthe
        following criteria forpurchase:(a) retained proofofpurchase;(b)credit/debit
        cardpurchaser;(c)on-linepurchaser;and/or(d)loyaltyorrewardsmemberatthe
        retailestablishm entw here Body Liflw as purchased.'-

 (D.E.109 at3).Plaintiffhasexcluded from theseclasses:tûDefendants,parent,subsidiariesand
 aftiliates,theirdirectors and ofticers and m em bers oftheirim m ediate fam ilies,any federal,state,

 orlocalgovernmentalentities,anyjudicialofficerspresiding overthis action and membersof




 2 It appears Plaintiff unintentionally om itted herself from the Florida C lass definition. Later in
 the M otion,Plaintiff states,i%-f'he Florida and the N ationw ide Classes are defined as Plaintiff
 herself,and a11otherpersonsin the state ofFlorida orN ationw ide w ho purchased Body Liftfrom
 date ofproductlaunch (January 2013)to the presentwho meetatleastone ofthe tbllowing
 criteria....''(D.E.109,at11).Plaintiffdid includeherselfintheNationalClassdefinition.The
 Coul't undertakes this analysis assum ing Plaintiff intended to nam e herself in the Florida Class
 definition,as she w ould notbe a m em berofthe Florida Classunless she did so.
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 theirimmediatefamilies,andjudicialstaffandanyjurorassignedtothisaction.''(D.E.109 at2,
  n.4).
          As noted above,Plaintiffasserts her FDUTPA claim and unjustenrichmentclaim on
  behalfoftheputativeFloridaClass,andassertsonlyherunjustenrichmentclaim onbehalfofthe
  putative N ationalClass.

          DefendantsstatePlaintiffûtcannotmeetanyoftherequirementsofRule23.''(D.E.110at
 4). Defendants argue Plaintit-
                              f fails to establish she meets Rule 23(a)'s prerequisites of
 ascertainability, numerosity, comm onality, and adequacy of representation. D efendants also

  argue Plaintifffailsto establish she meets Rule 23(b)(3)-srequirements ofpredominance and
 superiority.TheCourtaddresseseach of23(a)'srequirem entsin turn.
     A.Rule23(a)'sPrerequisites
          1) Ascertainability
          ûkilefore a district courtm ay grant a m olion for class certification,a plaintiff seeking to

 represent a proposed class m ust establish that the proposed class is ûadequately detined and

                                                                              l304 (1lth Cir.20l2)
  (quoting DeBremaecker v.Short,433 F.2d 733,734 (5th Cir.1970)).A putative classiswknot

 ascertainableunlesstheclassdefinitioncontainsobjective criteria thatallow forclassmembers
 to be identitied in an adm inistratively feasible w ay.''Karhu v. VitalPharma.,Inc.,,62l F.App'x

  945,946 (11th Cir.2015).t'ldentifying classmembersisadministratively feasiblewhen itisa
  km anageableprocessthatdoesnotrequirem uch-ifany,individualinquiry.'''1d.(quoting Bussey

  v.M acon C/
            y.Greyhound Park,lnc.s562 F.App'x 782,787 (11th Cir.2014)).
          The class definitions posited by Plaintiffare notascertainable fora hostofreasons.A san

  initialandfundamentalmatter,theclassdetinitionspositedbyPlaintiffarenotobjectivebecause
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 Plaintiff has written herself into the class detinitions.   Such a run-around the objectivecriteria
 requirementcannotstand.W ritingoneselfinto aclassdetinition isaboutassubjectiveasaclass
 detinition can get. Plaintiff cannot be a m ember of the class where she does not meet the

 objectivecriteriasetoutintheproposedclassdefinition.
        Asto the posited classdetinitions'objedive criteria,Plaintiffproposesthatindividuals
 can be class members only ifthey meetatleastone offourcriteria:t-(a)retained proof of
 purchase'
         ,(b)credit/debitcard purchaser'
                                       ,(c)on-line purchaser'
                                                            ,and/or(d)loyalty orrewards
 m em ber at the retail establishm ent w here Body Lif't w as purchased.'' These criteria are an

 attem pt to m ake the class ascertainable by making class m embers identifiable in an

 adm inistratively feasible way.The frst and third criteria would m ake som e putative class

 m em bers identitiable in an adm inistratively tkasible w ay. As to the tirst criteria, proof of

 purchase is clear indication the product w as purchased and the person possessing said proof

 should be a m em ber of the class. As to the third criteria, D efendants adm it Clarins has the

 requisite inform ation to identify the purchasers of products sold through Clarins's website. (See

 D.E.ll0 at23 (tkotherthan information regarding itsown websitesales,Clarinshasno records
 ofthe identities ofindividualconsum ers who purchase Clarinsproducts atdepartmentstoresor

 specialty stores.''l).The Courtanalyzes the second and fourth criteria below,explaining why
 they failto create an ascertainable class.

        To support her argum ent thatthe proposed class detinitions create ascertainable classes

 even w ith the second and fourth criteria,Plaintiffrelieson aftidavits oftw o M acy'sem ployees. a

 Lord & Taylor em ployee,and a Sephora em ployee - providing inform ation about only three
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 retailers.3 These aftidavits represent a sm all fraction of the retailers that sold Body Lifl, as

 PlaintiffstatesClarinssold Body Lif'
                                    tatfifteen nationalretailestablishments.(SeeD.E.l09 at

  11).Astotheothertwelvenationalretailers,PlaintiffhasprovidedtheCourtwithnoevidenceto
 assess w hether they can provide necessary inform alion regarding the putative class m em bers'

 purchases.Because the Courtcannotdeterm ine thatputative elass m em bers who purchased Body

 Liftfrom these tw elve retailers can be identified in an adm inistratively feasible way, Plaintiffhas

 notsatistied herburden ofdem onstrating ascertainability.As described below ,even if lim ited to

 consum ers w ho purchased Body Lift from the retailers for w hich Plaintiff has included

 declarations,the second and fourth crileria m ake the classunascertainable.

            a. C reditm ebitC ard Purchasers

        W ith regard to the second criteria(credit/debitcard purchaser)and the remaining three
 nationalretailers(Macy's,Lord & Taylor,and Sephora),the Courtfinds thatPlaintiffhasnot
 carried itsburden ofdem onstrating the classisascertainable.

        As to M acy's, Plaintiff directs the Court to paragraph 7 and paragraph 8 of the

 declarations of Jalovec and Teets,respectively.Jalovec's paragraph 7 concem s only custom ers

 thatuse M acy's proprielary creditcard,and thus,shedsno lighton use ofa regularcreditordebit

 card.(D.E.109-8at2).Teets'sparagraph 8statess


 3 Plaintiff argues that if the Court does not f5nd the class is ascertainable, Plaintiff should be
 allowed to take furtherdiscovery on this issue.(D.E.109 at l1 n.8).Plaintit-
                                                                            fstatesshe was
 severelyprejudicedbytheMagistrateJudge'srulingquashingthePlaintiffssubpoenasissuedto
 non-partyretailers.(D.E.l09 at11n.8;77at2).Yet,thatveryorder(D.E.77)statesthatifk-any
 party ornon-party requiregslfurtherassistance with discovery disputes,they may bring those
 disputes to the undersigned's attention .. ..'' If Plaintiff thought she had insuflscient evidence
 allow ing the Courtto tind the class was ascertainable, Plaintiff could have and should have
 m oved the Court to allow further discovery. ln any event, the Coul't w ill not allow further
 discovery asto ascertainability becausesuch discovery would befutile.Asdiscussed irfra,the
 Coul'
     t finds Plaintiff's claim s are not typical of the putative classes' claim s,and as such,m ust
 deny class certification.
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        M acy'scustom erinform ation m anagem entsystem regarding specitic transactions,
        the products involved in those transactions-and the custom ers associated with
        thosetransactionsretlectsapproxim ately the pastthreeyearsofsuch transactions.
        Transactional inform ation w ithin the register processing system retlects
        approxim ately the past seven years of such transactions, w hile transactional
        information within M yclientreflects approximately the pasteighteen m onths of
        such transactions.
 (D.E. l09-8 T 8).Attirstglance,itseems this information would be sufticientto identify
 customers thatpurchased Body Lift,but a fullreading of Teets's declaration casts doubt on

 w hether that is the case.Teets states, tzM acy's does not m aintain any records that associate

 custom er identifying intbrm ation w ith purchases ofindividualproducts.M oreover, M acy's does

 nothave the presentability within itssystem sto run a reportto generate such documents''and

 would need to t-sort, analyze and reconcile volum inous data from dift-
                                                                       erent and presently

 unrelated data setsto cullthatinform ation and create a record thatdoes notpresently existin any

 form.''(D.E.109-8 ! 6).The Coul'tcannotdivine from Teets'sdeclaration whatinformation is
 actually contained in any of the system s referenced in paragraph 8, m uch less w hether such

 inform ation can be used to identify putative class m embers.Plaintiff fails to explain how the

 inform ation thatM acy's can provide on sales m ade on creditordebit cards can actually be used

 to identify w ho belongs in the putative class.To the contrary,it appears that the inform ation

 M acy'spossessescannotprovide the Courtw ith the identity ofputative class m em bers.

        A s to Lord & Taylor, Plaintiff directs the Courtto paragraphs 3 and 17 of Talisic's

 declaration. Paragraph 3 states that the retailor 'idoes not m aintain a database of records that

 tracks customer-identifying information for allpurchases made by its customers. gl-ord &
 Taylorlonly collects customer information atpoints ofsales forapproximately seventy-four
 (74% )of its sales.''(D.E. 109-8 at8).Paragraph 17 provides thatthe retailor -'retains certain
 sales inform ation w ithin its system s for approxim ately eight years.lnform ation prior to that

 tim espan,is available,if atall,only on backup m edia ...and isnotreasonably accessible ....''

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                                                                                                     I


  (D.E.109-8 at11).Neitherofthese paragraphs,noranything in the declaration,describesthe             .
                                                                                                     ,


  inform ation Lord & Taylor m aintains following a purchase m ade w ith a credit or debit card.
                                                                                                     1

  Perhaps because Plaintiff does not know the information that will be available from such           '
                                                                                                     i
  purchases, Plaintiff does not explain to the Court how it w ill use inform ation from Lord &

  Taylorto identify putativeclassmem bers.

         Finally, as to Sephora, Plaintiff directs the Coul'
                                                           t to paragraphs 11 and 20 of W ayne's

  Declaration. Paragraph 11 states that $:80 to 85 percent of al1 U .S. in-store purchases from

  Sephoracanbeassociatedwith aspecifice-mailaddress.''(D.E.109-8atl1).However,afuller
  reading ofthe declaration indicatesthe purchases thatcan be tied to an emailaddress are those

  purchases forw hich the purchaseridentifiesherself as a Sephora loyalty m em ber. (D.
                                                                                      E.l09-8at
  l4).Accordingly,these identitiable purchases are relevant to the fourth criteria and do not
  illum inate how having purchased Body Lift with a credit or debit card w ould m ake a putative

  classm em berascertainable.Paragraph 17 states-

         Sephora does not maintain any records that associate customer identifying
         inform ation w ith purchases of individualproducts. M oreover, Sephora does not
         have the present ability w ithin its system s to run a report to generate such
         documents. To gdo sol, Sephora would need to sort,analyze and reconcile
         voluminotls data from different and presently unrelated data sets to cull that
         inform ation and create a record thatdoesnotpresently existin any form .

 (D.E 109-8atl5).W hilethisparagraph indicatesitispossibleto createadocumentassociating
  custom er identifying inform ation w ith the purchase ofan individualproduct, this could only be

 done ifSephora hasthe underlying customer identifying infonnation in the firstplace.Yet, this

  declaration does notindicate thatSephora w ould have thatinform ation for purchases m ade w ith




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  a creditordebitcard absentaffiliation w ith Sephora'sloyalty program .4A gain, Plaintiffdoes not

  providetheCourtwith evidence thata creditordebitcard purchase from Sephoracan lead to the

  identification ofputative class m em bersin an adm inistratively feasible w ay.

         Accordingly,the Courtisnotsatisfied thatputativeclassm emberscan be identified asto

  purehases m ade by creditor debit card at the above three retailers,and w ith such uncertainty,

  Plaintiffhas notcarried itsburden ofdem onstrating the putative class w ould be ascertainable.

             b. Loyalty C lub M em ber

         The Coul'
                 tfindsthe fourth criteria - thatthe purchaserw as a loyalty or rew ards m em ber

  ofthe retailer from which Body Lih waspurchased           is overbroad.Thiscriteria is overbroad

  beeause purchaserseould be loyalty orrew ards m em bers ofa retailer and notidentify them selves

  as such (orprovide an emailaddress,phone num ber,or anything else the retailercould use to
  identify them as Ioyalty mem bers) at check-out. lf loyalty members do not so identify
  them selves,their status as loyalty m em bers w ould not be tied to the product purchased. As a

  hypothetical, if Jill w ere a Sephora loyalty m em ber, and purchased from Sephora a bottle of

  Body Liftwith cash,withoutsaying anything to the cashier,how could Sephora(or,moreto the
  point,theCourt)possiblytracethatsaletoJillinanadministratively feasibleway?Clearly,such
  tracing w ould notbe possible.

         W hile the Court m ay be able to construct a narrow er class definition that could pass

  m uster under the ascertainability requirem ent,the Courtneed notdo so w hen itwould be futile.

  Here,Plaintiffssubjectiveinclusion in theclassdefinition isinappropriate,and so,shecannot
  be a class representative.A dditionally.as discussed below ,the Courttinds thattypicality is not



  4 It appears that Sephora w ould have som e custom er inform ation for credit or debit card
  purchases made online.though this constitutes only 26% ofSephora's recentsales.(See D.E.
  l09-8at14).
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  satisfied astoboth claims,andfindsthatcommonalityisnotsatistiedastotheunjustenrichment
  claim .Accordingly,positing a new class definition w ould be futile.

         2) Numerosity
         Plaintiff argues she has satistied the num erosity requirem ent by subm itting Exhibit 2,

  which provides sales int-
                          ormation forBody Lift.Specitically,PlaintiffstatesExhibit2 illustrates

  that57.515 bottles of Body Liftw ere sold in 20l3 and 2014,and thus, ûtgiltisreadily apparent

  from an even cursory review of its records that m ore than 40 persons in Florida and nationw ide

  purchased Body Lift.Numerosity istirmly established.'-(D.E.124 at3).Defendantsretortthat
  tkthe evidenee shows that noteven M s.G arcia herselfm eets her criteria and is a m em ber of her

  own proposed class.How,then,can she conceivably suggesthow m any othersmight....''(D.E.
  110 at19).
         A putative class m eets the num erosity requirem ent if û'the class is so num erous that

  joinder ofallmembersisimpracticable.''Fed.R.Civ.P.23(a)(1).ttûlmpracticable'does not
  m ean iim possible';plaintiffsneed only show thatitw ould be extrem ely difficultor inconvenient

  to join a11membersofthe class.''ln re Healthsouth Corp.Secs.Litig.,213 F.R.D.447,457
  (N.D.Ala.2003)(internalquotation marksomitted).W hileû-mereallegationsofnumerosityare
  insufficientto m eetthisprerequisite,a plaintiffneed notshow the precise num berofm em bers in

  aclass.''Evansv.US.Pipe dcFoundry (7(?.,696 F.2d925.930 (11th Cir.1983).However,-'(a1
  plaintiff m ust ordinarily dem onstrate -ksom e evidence or reasonable estim ate of the num ber of



  a general rule,a group of m ore than forty satisfies the num erosity requirem ent of Rule 23,a

  group offewerthan twenty-onedoesnot,and the numbersin between aresubjecttojudgment




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  2013).ln deciding whetherthe movanthas sufficiently established numerosity,a courtmay
  consider a num ber of factors along w ith the num ber of class m em bers, including geographical

  dispersion of the class m em bers. judicialeconomy,and theeaseofidentifying themembersof

  the classand theiraddresses.Kreupfeld A.G.v.Carnehammar,l38 F.R.D.594,598-99 (S D .             .




  Fla.1991).
         Here.while Plaintiffhas notprovided an estim ated num berofputative class m cmbers,

  Plaintiffhasprovided evidence indicating the FloridaClasswould consistofatleasthundredsof

  m em bers and the N ationalClass would consistof thousandsofm em bers. SpecificallysExhibit2

  is a table with sales data from 2013-2014 about Clarins's products, including Body Lift.This

  table indieates thatin tw o years,Clarins sold, through itsown w ebsite,over268 unitsofBody

  Lift in Florida. Even accounting for the possibility of repeat-purchases from individual

  custom ers,this figtlre is sufticientto m eetthe num erosity reqtlirem ent, and does not include the

  classm embers who m aintained proof ofpurchase for sales made after 2014. The table further

  indicatesthatduring thesam etwo years,Clarinssold, also through itsown website,thousandsof

  units of Body Lift nationw ide.Thus,the N ational Class w ould have at least several thousand

  class m em bers.A ccordingly,170th the Florida C lass and the N ationalC lass m eetthe num erosity

  requirement,asjoinderofseveralhundredclassmembersisclearlyimpracticable.
         3) Commonality
         Plaintiff claims that commonality is satisfied because there are num erous legal and

  factual questions that are com m on to the classes and central to the claim s at issue. Nam ely,

  Plaintiffstatesthe following questionsarecomm on to theclasses:(1)whetherClarins'sCellulite
  LabelClaim s are sufticiently uniform ,
                                        '(2)whether Clarins's Cellulite LabelClaim s are false,

  misleading,ordeceptive'
                        ,(3)whetherClarins'sfalseclaimsin itsmarketing ofBody Liftwere
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  and arelikely tomislead an objective consumeracting reasonably underthecircumstances,
                                                                                      '(4)
  whetherClarins'smarketing activitiesviolated FDUTPA and unjustenrichmentlaws;and (5)
  whether Plaintiff and otherm em bers ofthe Florida Classhave been dam aged and, if so,w hether

  there is a com m on m ethodology form easuring those dam ages.

         Defendantsargue thatPlaintiffhas notsatistied the com m onality requirem entbecause the

  dissim ilaritiesw ithin the proposed classes render class treatm entim proper. D efendantspositthat

  custom ers purchase Clarins's products for -'a host of reasons wholly unrelated to product

  labeling.''(D.E.l10 at20).Thus,Defendantsstatethattheè-criticalquestionsofcausationand

  injury ...tulm on highly individualissuesnotappropriateforclass-wideresolution.''(D.E.ll0
  at26).
         Rule23(a)(2)requiresthat-'therearequestionsoflaw orfactcommontotheclass.''Fed.
  R.Civ.P.23(a)(2).Thiscommonality requirementi%idoesnotrequire thataIlthequestionsof
  law and fact raised by the dispute be com m on,' or that the com m on questions of law or fact

  'predom inate' over individual issuesv'- l.-e,gz?,564 F.
                                                         3d at1268 (quoting Cox v.Am.()1A'
                                                                                         /lron
  Pl
   peCt?.,784 F.2d l546,1557 (11th Cir.1986)).Rather,commonality t'requirestheplaintiffto
  demonstrate thatthe classmembers thave suffered the same injury.'''Wal-jlart,564 U.S.at
  349-50 (quoting Gen.Telephone Ct?.t?/u
                                       vlfzrv.Falcon,457 U.S.147,157 (1982)).The class
  claim s tim ust depend tlpon a com m on contention for exam ple,the assertion of discrim inatory

  bias on the pal't of the sam e supervisor'' that k'm ust be of such a nature that it is capable of

  classw ide resolution which m eans thatdeterm ination of itstruth or falsity w illresolve an issue

  that is centralto the validity ofeach one ofthe claim s in one stroke.''1d.at350.In other words.

  t%kgwlhatmattersto classcertification ...is notthe raising ofcommon 'questions'---even in
  droves but,rather the capacity of a classw ide proceeding to generate com m on answers aptto
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  drivetheresolution ofthelitigation.'''Id (quoting RichardNagareda,ClassCerti
                                                                             h cation in the
  Age(fzjggregateProofi84N.Y.U.L.REv.97,l32(2009)).
         H ere,Plaintiffalleges that Clarins advertised thata productw ould help control, sm ooth,

  and tirm an individual's cellulite, and further alleges that said product could not reduce or

  controlan individual'scellulite.The Courtfindsthatcom mon questionsoflaw and factexistas

  to the FDU TPA claim .The heartofthis claim isw hether D efendants deceptively advertised that

  itsproductwould work,thatis:whetheran objectivereasonableconsumerwouldbedeceivedby
  Defendants-claims.SeeFitzpatrickv.Gen.2$W//A'
                                              ,lnc.,263F.R.D.687 (S.D.Fla.2010)(finding
  com m onality satistied in FD UTPA class action alleging deceptive advertisem ent, where the

  defendantargued subjectiveconsumers'understanding destroyed commonality.Thecourtstated
  the defendantcould not-ûevade the unmistakable factthatthe objective ...ofitsmarketing
  campaignwastopresent(theproductl...asaproductthat...aidsinthepromotionofdigestive
  health''and k-each plaintiff seeking dam ages under the FD UTPA is only required to prove that

  (the defendant's)conductwould deceive an objective reasonable consumer,and notthatthe
  deceptive actmotivated theirparticularpurchase.'').A determ ination ofthis issue would apply

  equally andobjectivelyto alloftheputativeFloridaClassmembers.Thus,thisissue iscapable
  of classw ide resolution as its determ ination w ould resolve an issue that is centralto the validity

  ofeach one ofthe claim sin one stroke.

         However,theunjustenrichmentclaim doesnotsatisfy thecommonalityprerequisite.ln
  Florida,the elements of a claim for unjustenrichmentare:(1)tta benefitconferred upon a
  defendant by the plaintiff-7
                             ' (2) t-the defendant's appreciation of the benefit''' and (3) '-the
  defendant's acceptance and retention of the benefitundercircum stances thatm ake itinequitable

  for him to retain it w ithout paying the value thereof.'' Vega, 564 F.3d at 1274.ln Vega,the


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  Eleventh Circuitfound thattheproposed classlacked commonality asto an unjustenrichment
  claim because k'a court must exam ine the particular circum stances of an individual case and

  assure itselfthat,withouta remedy,inequity would resultor persist.''1d.W ith this necessary

  individualized inquiry, a claim for unjust enrichment does not lend itself to a classwide
  proceeding that w ould generate com m on answers apt to drive the resolution of the litigation.

  Accordingly,commonalityisnotsatisfiedastotheunjustenrichmentclaim.
         4) Typicality
         Plaintiffcontendsthattypicality ism etbecause herclaimsttare the sam e asthose giving

  rise to the otherFlorida Classm embers'claim s,which arise from the same course ofconduct-

  Clarins'slabeling,marketing and advertising ofBody Lif4.''(D.E.109 atl5).Defendantsargue
  thattypicality is notsatistied,interalia,because Plaintiffdoes notfitw ithin herclass detinitions,

  is subject to unique defenses, and does not specitically recall seeing any Body Lift
  advertisement5(D.E.110 at5-7).PlaintiffcountersthatPlaintit-
                .                                            fisexpressly included in the

  classdefinitionsbecausethek-classesaredetined objectively lo include(1)M s.Garciaand (2)
  otherswho purchased Body Lif4through variousmodalitiesor(3)who retained someproofof
  purchase.-'(D .E.124 at6).
         Rule23(a)(3)requiresthat-btheclaimsordetknsesoftherepresentativepartiesaretypical
  ofthe claimsordefensesofthe class.''Fed.R.Civ.P.23(a)(3).The typicality requirementis
  satisfied if'-the claims ordefensesofthe classand the class representative arise from the sam e

  eventor pattern orpractice and are based on the sam e legaltheory''and m ay be satistied ktdespite


  5 D efendantchallenges typicality and adequacy in the sam e section, m aking little-to-no effortto
  distinguish w hich argum ents pertain to typicality,and w hich pertain to adequacy. The Court
  recognizes that there is som e overlap betw een both prerequisites, but does not condone
  Defendants' approach. The Court anunges D efendants' undifferentiated argum ents in the
  appropriate sections,as Detkndants should have atleastattem pted to do.

                                                  15
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  substantialfactualdifferences...when there isa strong similarity oflegaltheories.''W illiams v.

  Mohav'kIndus.,lnc.,568F.3d 1350,1358(11th Cir.2009).However,ltgtlheclaimsanddefenses
  oftheclassrepresentativewould notbetypicalifgtheylwouldrequiresubstantiallymoreorless
  proofthan required forthe otherm em bersofthe class.''Amsw iss 1n/'/Corp v.Heublein,lnc.,69
                                                                             .




  F.R.D.663,667 (N.D.Ga.19754.%ûlkepresentative plaintiffs should notbe distracted by a
  relativelyuniquepersonaldefense.''/#.(internalquotationmarksomitted).
         Plaintifp s w riting herself into her class definitions is a creative end-around the long-

  standing rulethattCa classrepresentativemustbepartt?/-thec/tz-
                                                               u'andpossessthesameinterest

  and sufferthesameinjury asthe classmembers.''E.Tex.M olorFreightSyx
                                                                    &.lnc.v,Rodriguez,
  431U.S.395 at403 (1977)(internalquotation marksomitted,emphasisadded)(eiting cases).
  Here,whilePlaintiffallegesshesufferedthesameinjuryastheputativeclassmembers,shedoes
  notmeettheobjectivecriteriainherclassdefinitions.
         ThatPlaintiffdoesnotmeether objective class definition createsa furthertypicality
  problem becauseitmeansPlaintiffissubjectto uniquedefenses.Namely:Plaintiffissubjectto
  the defense - already raised in the Response - that she did not actually purchase Body Lift,

  because she cannot proffer any independent record that she purchased the product and her

  deposition testim ony m ay raise doubts about the veracity ot-her testim ony.6 To surm ount this

  defense,Plaintiff has provided evidence that she purchased Body Lift:her ow n testim ony she

  purchased Body Lift and m edicalrecords that indicate she told the doctor she used Clarins-s


  6 Forinstance, Plaintiffrepeatedly statesthatshe purchased Body Liftin January forabout$90.
  H owever, Body Lift w as not available at the alleged purchase location until the last week of
  February.Additionally,the manufacturers' suggested retail price (itM SRP'') for Body Liftin
  2013 was $68.00,suggesting the price paid would have likely been closer to $70.The Court
  notes thatPlaintiff sdeposition testim ony is notfatalto herclaim ,as people often m isrem em ber
  the date they purchased a product and how m uch that product cost. How ever,the testim ony
  highlights the issues surrounding Plaintiff s inability to produce an independentrecord that she
  purchased Body Lift.
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  products.W hether Plaintiff actually purchased the product is notthe specific issue here, as she

  has provided sufficient evidence at this stage for a reasonable fact finder to conclude that she

  purchased Body Lift.However,the issueisthatshe issubjectto asubstantialdefenseto which
  the restofthe classmemberswould notrealistivally be subject,asallputativeclassmembers
  would possess(orbe able to acquire)objective evidence they purchased Body Lift,asperthe
  class definitions' objective criteria.To defeatthis defense,Plaintiff would need to offer a
  quantum of evidence significantly broader and different than the rest of the class m em bers.

  Accordingly,Plaintiffdoesnotsatisfy Rule23(a)(3)'stypicalityrequirement.
         Defendants' argum ents concerning the other unique defenses applicable to Plaintiff are

  unavailing. Defendants argue Plaintiff failed to read and follow Body Lift's instructions.

  How ever, Plaintiff has alleged and subm itted evidence that Body Lift cannot perform as

  advertised,regardless ofhow the productis used.lfPlaintiff's experttestim ony is believed,then

  Plaintiff s individualuse ofthe productis irrelevant,because itw ould nothave worked even if

  used exactly as instructed.A ccordingly,Plaintiff's particularuse ofBody Liftdoesnotm ake her

  claim s atypical.

         Sim ilarly unavailing is D efendants'argum entthatPlaintifps claim s are atypicalbecause

  she cannotprecisely recallthe Body Lift advertisem ents that she saw .The Courthas addressed,

  andrejected,asimilarargumentregardingFDUTPA classactions.SeeFitzpatrick,263F.R.D.at
  693 95.As the Courtstated in Fitzpatrick,7
     -




  7 ln Fitzpatrick, thisanalysiswas directed towards Rule 23(a)'scommonality requirement,and,
  arguably,is w here this discussion is m ore properly raised.H owever,because D efendant raises
  the issue in the context of the typicality requirem ent,the Coul't addresses the m atter in this
  section. The Suprem e Court has noted that com m onality and typicality often overlap. See
  Falcon,457 U.S.at 157 n.13 (1982)(kûl-he commonality and typicality requirementsofRule
  23(a) tend to merge.Both serve as guideposts for detennining whether underthe particular
  circum stances m aintenance of a class action is econom ical and w hether the nam ed plaintift-'s
                                                 17
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         A lthough the Court agrees that a plaintiff m ust be exposed to the
         m isrepresentation ...relied upon in a claim fordam ages,itis notpersuaded thata
         plaintiff should be forced to rely only on those representations, om issions, or
         practices experienced firsthand to prove that a defendant engaged in a deceptive
         act.Applied here,gthat)restrictive approach would mean the putative classis
         disharm onious because each plaintiff was likely exposed to a unique array of
         advertising statem ents, and w ould therefore be forced to rely on a slightly
         divergentpoolofevidence to establish that gDefendantl engaged in the same
         deceptive act.

  263 F.R.D.at693.A sin Fitzpatrick,there istûlittle doubtthateach putative classm emberwas

  exposed,ata m inim um ,to the alleged m isrepresentations com m on to''Body Lift'spackaging, or

  in instanceswhere the bottlewasdisplayed withoutthepackaging,wasexposed atthe very least

  to the product's nam e and alleged inherent claim of cellulite reduction:tkBody Lift Cellulite

  Control.'' Fitzpatrick, 263 F.R .D .at 693. Accordingly, for the FD U TPA claim , the fact that

  Plaintiffand the putative class members were exposed to different advertisements or different

  statem ents regarding Body Lift's effect on cellulite does not defeattypicality where,as here,

  Plaintiffand the putative class w ere al1exposed to the sam e allegedly deceptive behavior:stating

  or im plying thatBody Liflhelps t11711and controlcellulite.

         Defendants do notspecifically address whetherPlaintifps unjustenrichmentclaim
  typical of putative Florida Class m em bers' claim s or the putative N ational Class m em bers'

  claim s.H ow ever,because the Courtm ustundertake itsow n rigorous analysis to ensure thatRule

  235srequirementshavebeen satistied,theCourtaddressesatypicality concernregarding unjust
  enrichment.The Courtnoted,supra,thethreeelementsofa claim forunjustenrichmentunder
  Florida law .As discussed above,the third elem entrequires that a coul'
                                                                        tttexam ine the particular

  circum stances of an individual case and assure itself that, w ithout a rem edy, inequity would


  claim and the class claim s are so interrelated thatthe interests ofthe classm em bersw illbe fairly
  and adequately protected in their absence.Those requirem ents therefore also tend to m erge w ith
  the adequacy-of-representation requirem ent,although the latterrequirem ent also raises concerns
  aboutthe competency ofclasscounseland conflictsofinterest.'').
                                                  18
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  resultor persist.'' Vega,564 F.3d at 1274. Such inquiry w ould include,underthe facts alleged,

  w hether each putative class m em ber w as aware that Body Lift could not reduce the am ountof

  celluliteaperson has(asopposed to temporarily reducing theappearanceofthatcellulite) lf a    .

                                                                                                        I
  putative classm emberdid notexpectan actualphysicalreduction in hisorhercellulite, then the

  product'sinabilitytoproducethatresultwould notbeabasisforaclaim forunjustenrichment               .




  Accordingly,Plaintiffsclaim forunjustenrichmentwould notbetypicaloftheclaimsofthose
  putative class m em bers w ho had differentexpectationsofthe productthan did Plaintiff. See id.at

  1276-77(typicalitynotsatisfiedwhensubjectiveunderstandingofeachclassmemberisrelevant
  to the claims and defenses athand,and this was klparticularly true on the unjustenrichment
  claim ,wheresuch individualized factsconcerning each employee'sknowledge . . . willdelineate          ,



  theequitiesinagiven case'').
         5) Adequacy ofRepresentation
         Plaintiffclaimsshe willadequately representtheputativeclassesbecauseherinterestsare            ;

  aligned with allclassmembers,asshe and allputative classmemberswillbenefitifthe action is

  successful, and because she has proven to be proactive and diligent in her duties as class

  representative. Additionally, Plaintiff argues her counsel is com petent and experienced in

  com plex class action litigation, and, further, has dem onstrated they w ill continue to devote

  significant resources to this litigation. D efendants counter that Plaintiff is not an adequate

  representative because ltplaintiff does notunderstand,and has dem onstrated an unw illingness or      ë

  inability to perform ,her duties as a putative class representative''and because çûplaintiff know s

  very little about her case and has exerted almost no effort to learn.'' (D.E. l10 at 7-8).
  Defendants also argue that Plaintiff s 'ûdem onstrably false--or, view ed charitably, m istaken




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  testim ony''concerning her Body Lift purchase m akes her an inadequate class representative.

  (D.E.110at5-6).
         Rule23(a)'sfinalprerequisiteisthatkitherepresentativepartieswillfairly andadequately
  proted theinterestsoftheclass.''Fed.R.Civ.P.23(a)(4).Thisprerequisitehasbeen intep reted
  as having two distinct components:$i(1) whether any substantialcontlicts of interestexist
  between the representativesand the class;and (2)whetherthe representativeswilladequately
  prosecute the action.'' Valley Drug Co., 350 F.3d at ll89.The latter com ponent ikis prim arily

  based on ithe forthrightness and vigor w ith which the representative party can be expected to

  assertand defend the interests of the . . .class.''' London v. W al-M art Stores, lnc., 340 F.3d

  1246,1254 (11th Cir.2003)(quoting Kirkpatrick v.
  (11thCir.1987)).W hiletheaboverequirementsarenecessaryto afindingofadequacy,anamed
  plaintiff m ust also kipossess the personal characteristics and integrity necessary to fulfill the

  fiduciary role of class representative.'''/J. (quoting Kirkpatrick,827 F.2d at 726).These

  adequacy requirements apply notjustto Plaintiff,but also to her counsel.See id.at
  Notwithstanding the above, iiigilt is well-settled that         l1ot IRCCCSSRW fOf nam ed CIaSS

  representatives to be know ledgeable,intelligent or have a 517'1
                                                                 ,
                                                                 1 understanding of the legal or

  factualbasison which thecaserestsin orderto maintain a classaction.''-M uzuco v.Resubmitlt,

  LLC,297 F.R.D.504,517 (S.D.Fla.2013)(quoting Powersv.Gov'tEmployeeslns.Co.,192
  F.R.D.313,317-l8(S.D.Fla.1998)).
         The Court does not find any substantial contlict of interest betw een Plaintiff and the

  putative class.A dditionally,based on a11the evidence subm itted,the Courtfinds that Plaintiff

  w ould adequately prosecute this action.A s to the latter adequacy com ponent,Defendants have

  parsed Plaintiff s deposition testim ony and referenced select portions thereof to support their



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  argument that Plaintiff does not understand the nature of the lawsuit and the class action.

  H owever, a broader reading of Plaintiff s deposition testim ony reveals she has sufficient

  knowledge ofthe matterathand to salisfy Rule23(a)(4)'sadequacy requirement.Specifically,
  Plaintiff states that she believes that D efendants have falsely advertised the efficacy of the

  products at issue in this action (including the one product at issue in the class-related
  allegations).(See D.E.105 at6,29).Plaintifpsdeposition testimony furtherrevealsPlaintiff's
  belief that the produets at issue do not w ork at all. (D.
                                                           E.l05 at29).Additionally,Plaintiffis
  aw are that this is a class action law suit and that there are t-so m any wom en that w ere

  complaining aboutthe efficacy of the product.''            105 at 6).Plaintiff appeared ather
  deposition, spoke with counsel in preparation of said deposition, responded to discovery,

  familiarwith the complaint(even ifPlaintiffdid notthoroughly read the entirecomplaint),and
  has produced records for this action. W hile Plaintiff m ay not fully com prehend the Iegal

  elementsofhercausesofaction orhow m any classm emberscan partakein aclassaction, this is

  not fatalto Plaintiff's adeqtlacy of representation,nor is the factthat she did notknow the exact

  amountofdamagessoughtin thiscase.8 .%ee M uzuco,297 F.R.D.at517.

         A s to Plaintiffs character, Defendants seem to im ply that Plaintiff does not have

  suflicientintegrity to be a classrepresentative,suggesting that Plaintiffneveractually purchased

  Body Lift. As basis for these implications, Defendants use the facts that Plaintiff, in her

  deposition testim ony, w as m istaken by at least three-to-four w eeks regarding the date she

  purchased Body Lif'
                    t,and that Plaintiff was likely mistaken by around $20.00 regarding the


  8 Plaintiff's deposition testim ony reveals Plaintiff firstly wants an apology from Clarins to the
  consum ers ofthe relevantproducts,and thatPlaintiffhas notdiscussed actualcom pensation w ith
  her attorneys and states com pensation forthe plaintiffs (which the Coul'
                                                                          t interprets as being a
  referenceto herselfand theputativeclass)would beup to herattorneys.(See Pl.'sDepo.210-
  11).
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  amountfor which she purchased the product. In herdeposition,Plaintiffrepeatedly states she               I

  purchased Body Lif'
                    tin January, 2013.Defendants have provided evidence thatthe productonly
                                                                                                           .


  became available atthe alleged purchaselocation theweek ofFebruary 23, 2013.(See D.
                                                                                    E.l15-
  3!23).Plaintiffalso allegesshepurchased Body Liftfor$90.00,butDefendantshaveprovided
  evidence thattheM SRP forBody Liftin 2013 was$68 00.andthatitgallmostallsalesof'Body
                                                            .



  Lift'atdepartm entstores are m ade ator near the M SRP.''(D.
                                                             E.115-3! 32).However,itwould
  hardly be unreasonable forPlaintiffto be m istaken by a month or two regarding the date she

  purchased a product,when thatalleged purchase occun'ed more than two-and-a-halfyearsprior
  to Plaintiff s deposition.9 Itwould similarly notbe unreasonable for Plaintiffto be mistaken (if

  indeed she w as m istaken and the retailer did not sim ply charge an am ount greater than the

  M SRP) about the am ount paid for a purchase that happened long before her deposition               .    !
  Accordingly, the Court does not find that these discrepancies tarnish Plaintiff's integrity.

  V iew ing a11 the evidence subm itted, the Court tinds that Plaintiff possesses the personal

  characteristicsand integrity necessary to fulfillthe fiduciary roleofclassrepresentative.                !

         Furtherm ore,while Defendants do notappear to challenge the adequacy of Plaintiffs

  counsel,theCourtmustundertakeitsownrigorousanalysison thesubject.Carella,Byrne,P.C.,


  9Plaintiff's Reply statesthatPlaintiffCûwould have inform ed Clarinsatherdeposition thather
  purchase of Body Lift may very well have been in M arch 20l3, if she had been shown
  documentary evidence of the date product (-
                                            çïcl was available for sale atthe M acy's in the
  Dadeland M all.''(D.E.124 at7).Defendantarguesthis statementindicatesthatPlaintiffktis
  ready to say whateverittakes to attem ptto squeeze into the confines ofherow n classdefinition-'
  and cites to cases in which a plaintiff's w illingness to give intentionally false testim ony m akes
  that plaintiff an inappropriate class representative.(D.E. l23 at 2).The Courtdoes notread
  Plaintiff s statem ent as an indication thatPlaintiff is w illing to provide false testim ony, rather,
  the Courtfindsthis statem entsim ply reflects thatPlaintiffwould have realized she w as m istaken
  aboutthe dateshepurchased Body Lif'     t.Butagain,the questionssurrounding Plaintiff'spurchase
  of Body Lifthighlight the typicality problem s presented by Plaintiff's failure to m eet her ow n
  class definition,i.e.,her inability to produce objective proofof purchase or meether class
  definitions'objectivecriteria.
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  Bern Ripka LLP,and Gelber Schachter& Greenberg,P.A.,are 1aw firm sexperienced in class

  action litigation,have com m itted significantresources to this litigation,and have indicated they

  are willing to continueto do so.(D.E.109-9.
                                            ,109 at23).The Courtissalisfied thatPlaintiffs
  counselis adequate.

         Although Plaintiff satisfied the numerosity,eommonality (only as to the FDUTPA
  claim),and adequacy requirementsofRule23(a),becausethe classesarenotascertainableand
  because Plaintiff s claim s are nottypicalofthe putative classes she seeks to represent, the Court

  mustdeny classcertification forfailure to satisfy Rule 23(a).Asthe CourtfindsthatPlaintiff
  doesnotsatisfy Rule 23(a),the Coul'tneed notengage in adiscussion ofRule23(b)(3)'smore
  dem anding requirem ents.

     B. Jurisdiction

         Although the partieshave notraised theissue ofwhetherthe Courtretainsjurisdiction
  over this CA FA putative class action upon denialofthe m otion forclass certitication,ttitis w ell

  settled thata federalcourtis obligated to inquire into subjectmatterjurisdiction sua sponte
  wheneveritmay be lacking.''Univ.q/S.Ala.v,Am.
  1999).Accordingly,the Courtaddresseswhetheritretainssubjectmatterjurisdiction overthis
  action,and concludesitdoesnot.

         The Eleventh Circuit has provided conflicting guidance on w hether a coul't m aintains

  subjectmatterjurisdiction overaCAFA classaction afteracourthasdenied classcertification.


  the dism issal on the grounds that absent certification as a class action, the district courtlacks

  subjectmatterjurisdictionoverW alewksi'sindividualclaim.'')with Vega,564F.3dat1268n.l2
  (11thcir.2009)(stating indictathatûjurisdictionalfactsareassessedatthetimeofremovaland
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  post-removalevents(including non-certification,decertifcation,or severance)do notdeprive
  federalcourtsofsubjectmatterjurisdiction!,?).l0
         Courts w ithin this D istrict that have addressed this issue at one point took different

  approaches regarding whether to dismiss CAFA class actions for lack of subjeet matter

  jurisdiction upon denialofclasscertification.Compare Clausnitzerv.Fed.Exp.Corp.,621
  Supp.2d 1266,1270 (S.D.Fla.2008)(holdingthecourtlacked subjeelmatterjurisdiction over
  CAFA classaction when thecourtdenied classcertitication)bvith Colomarv M ercy H osp.,1nc'.,
                                                                              .




  No.05-22409-ClV-SElTZ,2007 W L 2083562,at*2-3 (S.D.Fla.July 20,2007)(noting there
  was no direct circuit authority on point, but stating that :icase developments subsequent to

  removaldonotaltertheCourts'CAFA jurisdiction'').However,sinceClausnitzer,thisDistrict's
  precedentcallsfordismissalforlack ofsubjectmatterjurisdiction afterdenialofamotion for
  class certitication.See In re M otions to Certih'ClassesAgainstCbTfrfReporting Firms,715
                                               .




  Supp.2d 1265,1284-85(S.D.Fla.2010)(dismissingcaseforlackofsubjeetmatterjurisdidion,
  stating that-ktheCourt'sdecision notto certify theproposed classeseliminates j 1332(d)asa
  source ofjurisdiction''),qtfd,439 F.App'x 849 (11th Cir.2011).
                                                               ,Pop'
                                                                   s Pancakes,lnc.
  NuCO2,Inc.,25l F.R.D.677,688 (S.D.Fla.2008)(btgGliven thatthe Courthas declined to
  certify the classin this(CAFA class)action,jurisdidion ofthisaction may notbe predicated
  upon 28 U.S.C.A.j l332(d)(2).'') Karhu v.VitalParma.,Inc.,No.13-60768-C1V,2014 W L
  1274119,at *2-4 (S.D. Fla. M ar.27,2014) (holding that, upon the court's denial of class
  certification,the coul'tlacked subjectmatterjurisdiction over CAFA putative class actionl;
                                                                   681,684 n.5 (S.D.Fla.2012)

  10 A s W alewskiis unpublished, and the pertinenttext of Vega is dicta,neither is binding on the
  Court.See Gelfound v.Metlfe lns.Co.t?fConnecticut,313 F.R.D.674,680 (S.D.Fla.2016)
  (discussingbothEleventh CircuitstatementsonwhetheracourtretainsjurisdictionoveraCAFA
  classaction).
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  (same)(kè-f'heCourtnotes,upon denialofclasscertification,thatitlikely docsnothavesubject
  matterjurisdiction overthe various state law claimswhere diversity is lacking.''l;Carrollv.


  2014)(stating thatafterclasscertification wasdenied,ititappearssubjectmatterjurisdiction is
  lacking'' and ordering the parties to show cause w hy the action should not be rem anded;

  ultimatelydismissingcaseinsubsequentorder).
         Theexpresslanguageof28 U.S.C.j 1332(d)indicatessubsection 1332(d)shouldnotbe
  usedtoconfersubjectmatterjurisdictionafteracourthasdeniedamotion forclasscertitication.
  Specitically,j 1332(d)(8)states,it-l-hissubsection g(d)1shallapply to any classaction beforeor
  after the entry of a class certification order by the court w ith respect to that action.-' The

  subsection specifically defines the term ûtclass certitication order''to m ean ltan orderissued by a

  courtapproving the treatm entofsom e or al1aspects ofa civilaction as a class action.''28 U .S.C.

  j 1132(d)(1)(C)(emphasisadded).Reading subsections(d)(8)and (d)(1)(C)together,itappears
  thatj l332(d)doesnotapplywhenthecourtentersanorderdenying classcertitication.
         Thus,the Courtconcludesthatj 1332(d)doesnotprovideajurisdictionalbasisforthis
  action to be in federal courtnow that the Court has denied the M otion for class certification.

  Furtherm ore,Plaintiffhas neitherpleaded facts sufficientto show thatshe meets the traditional

  diversity jurisdiction requirements ofj 1332(a),norhas Plaintiffalleged thatshe meetssuch
  requirem ents.The Courtalso ascertains no federalquestion alleged in the com plaint.Finding no

  basisupon which theCoul'
                         tmay exercisesubjectmatterjurisdiction overthisaction,the Court
  m ustdism issthe case.
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                                     lV.     CO NCLUSIO N

         Based on the foregoing,the M otion for Class Certification (D.E l01j is DENIED.
                                                                          .




  BecausetheCourt'sdenialoftheM otiondiveststheCoul'tofsubjectmatterjurisdiction, the case
  is D ISM ISSED .The case is C LO SED and allpending m otionsare D ENIED A S M O O T .

        D O N E A N D O R D ER ED in Cham bers, M iam i,Florida,this 27thday ofJuly, 2016.




                                                   PaulC . uck
                                                   United States DistrictJudge
  Copies fum ished to:
  A llcounselofrecord.




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